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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC           §
                                      §
        Plaintiff,                    §                Case No: 2:15-cv-01169-JRG-RSP
                                      §
  vs.                                 §                LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendant.                    §
  ___________________________________ §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §                Case No: 2:15-cv-01181-JRG-RSP
                                      §
  vs.                                 §                CONSOLIDATED CASE
                                      §
  RE/MAX, LLC                         §
                                      §
        Defendant.                    §
 .___________________________________ §
                     ORDER OF DISMISSAL OF DEFENDANT RE/MAX,
                               LLC WITH PREJUDICE

         On this day the Court considered the Unopposed Motion to Dismiss Defendant RE/MAX,
  LLC With Prejudice, in the lawsuit between Plaintiff Symbology Innovations, LLC
  (“Symbology”) and Defendant RE/MAX, LLC (“RE/MAX”). Having considered the Motion
  and the pleadings in this case, the Court is of the opinion that the Motion should be, and is
  hereby, GRANTED.
         It is therefore ORDERED that all claims asserted by Symbology against RE/MAX, and
  any counterclaims or other claims by RE/MAX are hereby DISMISSED WITH PREJUDICE,
  with each party tothis
         SIGNED      bear3rd
                          its own costs,
                              day of     expenses
                                     January,     and attorneys’ fees.
                                              2012.
         SIGNED this 29th day of December, 2015.




                                                      ____________________________________
                                                      ROY S. PAYNE
                                                      UNITED STATES MAGISTRATE JUDGE
